Case 3:22-cv-00049-RSB-JCH Document 482 Filed 08/28/24 Page 1 of 2 Pageid#: 7078




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

  JOHN AND JANE DOE,                                    :
                                                        :
         Plaintiffs & Counterclaim-Defendants,          :
                                                        :
  v.                                                    :
                                                        :   CIVIL ACTION NO. 3:22-cv-49
  JOSHUA & STEPHANIE MAST,                              :
                                                        :
         Defendants & Counterclaim-Plaintiffs,          :
                                                        :
  RICHARD MAST,                                         :
                                                        :
         Defendant & Counterclaim-Plaintiff,            :
                                                        :
  & KIMBERLEY MOTLEY,                                   :

         Defendant.



                     CONSENT MOTION TO EXTEND TIME FOR
              DEFENDANTS JOSHUA & STEPHANIE MASTS’ RESPONSE TO
              PLAINTIFFS’ MOTION FOR ATTORNEY’S FEES & EXPENSES

         Defendants Joshua & Stephanie Mast, with the consent of Plaintiffs, respectfully ask that

  the Court extend the time for them to respond to Plaintiffs’ Motion for Attorney’s Fees & Expenses

  (ECF No. 461) to and including Tuesday, September 3, 2024.

         Plaintiffs filed their motion on July 31, 2024, and by default the Masts’ response was

  originally due on Wednesday, August 21, 2024, and was extended 7 days to Wednesday, August

  28, 2024, with Plaintiffs’ consent. Given other emergent filing deadlines in the coming days,

  undersigned counsel asked counsel for Plaintiffs, as a professional courtesy, to consent to an

  additional three business days (accounting for the Labor Day holiday on Monday, September 2).

  Counsel for Plaintiffs has consented.
Case 3:22-cv-00049-RSB-JCH Document 482 Filed 08/28/24 Page 2 of 2 Pageid#: 7079




        The Masts therefore respectfully ask that the Court extend the time for them to respond to

  Plaintiffs’ Motion for Attorney’s Fees & Expenses (ECF No. 461) to and including Tuesday,

  September 3, 2024.


        Dated: August 28, 2024                      /s/ John S. Moran

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                                                    Counsel for Defendants Joshua and
                                                    Stephanie Mast




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